Case 2:O4-cv-O2680-SHI\/|-dkv Document 11 Filed 05/03/05 Page 1 of 2 Page|D 22

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lN THE UNITEI) sTATES DISTRICT CouRT
FoR THE WESTERN DISTRICT oF TENNESSEE 95 [W _3 p;q u: 59
WESTERN DIvIsION ‘ ’ `

 

 

GENE GOEHRING,
Plaintiff,

Vs. Civil Action No. 04~2680 Ma V

F`EDEX KINKO’S OFFICE and

PR]NT SERVICES, INC., previously

known as KINKO’S_, INC.,

Del"endant.

 

ORDER GRANTING JOINT MOTION FOR EXTENSION OF
PLAINTIFF’S EXPERT DISCOVERY DEADLINES

 

Before the Court is the U`nopposed l\/lotion of Plaintiff F or Extension of PlaintifF S Expert
Discovel’y D€adline until June ]5, 2005, and Defendant‘S Expert Discovery Deadline until _Tuly 29,
2()05. For good cause shown, the motion is GRANTED.

lt is so ORDERED.

,(Q,,LW k. ima/pr

UNITED STATES DTST`R'I€T‘ JUDGE
/Vl agana/fl

Date: 70ch 3, 0?505

 

 

Thls document entered on the docket sheet in `c?pliance
with Flule 58 and/or 79(3) FRCP on '

 

 

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Honorable Samuel Mays
US DISTRICT COURT

